 

Case 1:05-cr-00708-K|\/|K Docum

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'eu:qmoo p:p £TBUTMOUH puI§ATTn;TTM '

pue umoux Squqo qu 'Sluepu

GIAHG ”’£@HDTW“ Q/H/P 'SVDOH-vq§

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Case 1:05-cr-00708-K|\/|K Document 1

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